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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 1:21mj02614 Goodman - 3CBU
                        CASE NO. ____________



  UNITED STATES OF AMERICA,

         v.

  ADALBERTO COMPARAN-BEDOLLA,
  CARLOS BASAURI-COTO,
  SILVIANO GONZALEZ-AGUILAR,
  and SALVADOR VALDEZ,

         Defendants.

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                                 CRIMINAL COVER SHEET

  1. Did this matter originate from a matter pending in the Central Region of the United States
     Attorney's Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?    Yes K.... No

  2. Did this matter originate from a matter pending in the Northern Region of the United States
     Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?_ Yes X No

  3. Did this matter originate from a matter pending in the Central Region of the United States
     Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Strauss)? _ Yes K.... No

  4. Did this matter originate from a matter pending in the Southern Region of the United States
     Attorney's Office prior to November 23, 2020 (Judge Aileen M. Cannon)? _ Yes K.... No

                                                    Respectfully submitted,

                                                    JUAN ANTONIO GONZALEZ
                                                    ACTING UNITED STATES ATTORNEY


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